                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                      Plaintiff,                   )
                                                   )
vs.                                                )        Case No. 14-00166-11-CR-W-GAF
                                                   )
MAURIO BELGRAVE,                                   )
                                                   )
                      Defendant.                   )

                                               ORDER

       On January 20, 2016, defendant entered a plea of guilty to the charge of conspiracy to distribute

and possess with intent to distribute 500 grams or more of cocaine, a lesser included offense of Count

One of the Superseding Indictment, before Chief United States Magistrate Judge Sarah W. Hays. On

January 28, 2016, Judge Hays issued her Report and Recommendation (Doc. 404). Objections were due

on or before February 16, 2016. No objections were filed.

       Upon careful and independent review, this Court finds that defendant’s plea was knowledgeable

and voluntary and that the offense charged is supported by an independent basis in fact containing each

of the essential elements of such offense. Accordingly, this Court hereby adopts and incorporates as its

own Opinion and Order the Report and Recommendation of Chief United States Magistrate Judge Sarah

W. Hays.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and defendant is

adjudged guilty. The defendant’s sentencing hearing will be scheduled and the parties notified of the

date and time of sentencing.




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      SO ORDERED.

                                         s/ Gary A. Fenner
                                         GARY A. FENNER, JUDGE
                                         UNITED STATES DISTRICT COURT

DATED: February 18, 2016




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